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 8
                                       UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11                                                      :
12                                                      :   Case No. 4:21-cv-02477-DMR
      SATHEESH THOMAS,
                                                        :
13                            Plaintiff,                :
                                                        :   NOTICE OF VOLUNTARY
14
                                                        :   DISMISSAL
15            v.                                        :
16    FIVE PRIME THERAPEUTICS, INC.,                    :
      WILLIAM R. RINGO, FRANKLIN M.                     :
17    BERGER, KAPIL DHINGRA, PEDER K.                   :
      JENSEN, GARRY NICHOLSON, CAROL                    :
18
      SCHAFER, LORI LYONS-WILLIAMS, and                 :
19    THOMAS CIVIK,
                                                        :
20                            Defendants.               :
                                                        :
21

22           PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

23 plaintiff Satheesh Thomas (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the

24 “Action”). Because this notice of dismissal is being filed with the Court before service by defendants

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     of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the Action is effective
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     upon the filing of this notice.
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                                   NOTICE OF VOLUNTARY DISMISSAL
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     Dated: April 23, 2021                    WEISSLAW LLP
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 3                                            By: /s/ Joel E. Elkins

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                               NOTICE OF VOLUNTARY DISMISSAL
